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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

 RowVaughn Wells,

                         Plaintiff,
                                                       Case No. 2:23-CV-02224
         v.
                                                       JURY DEMAND
 The City of Memphis et al.,

                         Defendants.


                    PLAINTIFF’S RESPONSE TO CITY OF MEMPHIS’S
                    MOTION FOR EXTENSION OF TIME (ECF No. 239)

        Plaintiff RowVaughn Wells, through her undersigned counsel, submits this response to

Defendant City of Memphis’s Motion for Extension of Time to File Supplemental Response in

Opposition to Plaintiff’s Motion for Protective Order (the “City’s Motion”) (ECF No. 239).

        Plaintiff does not oppose the City receiving an extension of its deadline to file its

supplemental response. In fact, Plaintiff endorses such an extension. The City’s response should

not be publicly filed until after the parties have fully briefed, and the Court has ruled on, the merits

of the parties’ disputes concerning sealing and confidentiality designations. That was the entire

purpose of the Court sealing the City’s filing ECF No. 230 on an interim basis until the Court

resolves the merits of the disputed sealing issues.

        Plaintiff believes that briefing on the unresolved sealing and confidentiality issues can be

completed most efficiently through omnibus briefing with simultaneous cross-briefs by the parties.

Plaintiff will submit a proposed schedule to that effect in a separate motion to the Court.




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       It was only because of Plaintiff’s request that the City’s motion for extension be brought

as part of a comprehensive briefing schedule with cross-briefs—which the City has objected to—

that the City treated its motion for extension as opposed.



Dated: November 22, 2024                             Respectfully submitted,




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                                 CERTIFICATE OF SERVICE

       I, Antonio M. Romanucci, hereby certify that on November 22, 2024, I caused the forgoing

to be electronically filed with the clerk of the court by using the CM/ECF system, and that upon

filing, such system will serve a copy of the foregoing upon all counsel of record in this action.


                                                      /s/ Antonio M. Romanucci
                                                      Antonio M. Romanucci




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